Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
Case 1-19-40218-cec   Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14
      Case 1-19-40218-cec    Doc 1   Filed 01/14/19   Entered 01/14/19 10:38:14




E40 Buyers IG, LLC
c/o Stephen Weintraub, PC
80-30 164th Street Suite 6
Jamaica, NY 11432

E40 Buyers IG, LLC
c/o Stephen Weintraub, PC
147-24 Hillside Avenue
Jamaica, NY 11435
